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AUG 2 6 2005

CLERK U S DISTRICT COURT
DISTHICT OF ARIZONA
IN THE UNITED STATES DISTRICT COURT {BYE Deputy

 

FOR THE DISTRICT OF ARIZONA

UNITED STATES OF AMERICA
Plaintiff,

VS. 04CR00968-001-PHX-SMM

PRIORE, Gregory Keith ORDER CONTINUING SENTENCING

Defendant.

See Nie ee” gee eee” ee ee ee See Se”

 

Upon request of the U. S. Probation Officer and good cause appearing,
IT IS HEREBY ORDERED:

x continuing sentencing until September 19, 2005 Qt q 'OOa: Ne

continuing sentencing until

 

(Date) (Time)

reaffirming the sentencing date.

Dated this ax” of Gs aoe”

7m M. MCNAMEE

 

CHIEF UNITED STATES DISTRICT JUDGE

 

 
